      Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 1 of 16



 1   Sherrett O. Walker (SBN 286595)
     ATTORNEY AT LAW
 2
     P.O. Box 1543
 3   Pacifica, California 94044-6543
 4
     (415) 305-6546
     rett@walkercalawyer.com
 5
 6   Counsel for Eurosemillas, S.A.,
     Mohan Uttarwar and Piyush Gupta
 7
 8                            UNITED STATES DISTRICT COURT
 9
                         NORTHERN DISTRICT OF CALIFORNIA
10
11   EUROSEMILLAS, S.A.,                    Case No. 17-cv-3159-MEJ

12               Plaintiff,
           v.
13                                          THIRD PARTY DEFENDANTS’
     PLC DIAGNOSTICS, INC.;                 MOTION TO DISMISS THE
14
     NATIONAL MEDICAL SERVICES,             THIRD PARTY COMPLAINT
15   INC.; LDIP, LLC; REUVEN DUER;
16   ERIC RIEDERS; and Does 1 – 10,

17               Defendants.                  Date: January 18, 2018
                                              Time: 10:00 a.m.
18
     PLC DIAGNOSTICS, INC.;                   Place: 450 Golden Gate Ave.
19   NATIONAL MEDICAL SERVICES,                      Courtroom B – 15th Floor
20   INC.; LDIP, LLC; REUVEN DUER;                   San Francisco, CA
     ERIC RIEDERS,
21
                                             Judge: Maria-Elena James
                 Third Party Plaintiffs,
22
           v.
23
     MOHAN UTTARWAR,
24   PIYUSH GUPTA,
25               Third Party Defendants.
26
27   AND RELATED COUNTERCLAIMS
28
                                                                    Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 2 of 16



                                                            1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                            2             PLEASE TAKE NOTICE that on January 18, 2017 at 10:00 a.m., or as
                                                            3   soon thereafter as the Court may hear the matter, before the Honorable
                                                            4   Maria-Elena James in the United States District Court for the Northern District of
                                                            5   California, located at 450 Golden Gate Avenue in San Francisco, California, Mohan
                                                            6   Uttarwar and Piyush Gupta (collectively, “Third Party Defendants”) will and
                                                            7   hereby do move to dismiss the Third Party Complaint of PLC Diagnostics, Inc.
                                                            8   and National Medical Services, Inc. dba NMS Labs, LDIP, LLC, Reuven Duer, and
                                                            9   Eric Rieders (collectively, “Third Party Plaintiffs”).
                                                           10             The Motion is brought under Rule 12(b)(6) of the Federal Rules of Civil
                         Pacifica, California 94044-6543
    SHERRETT O. WALKER




                                                           11   Procedure on the basis that:
                                   (415) 305-6546
                                  P.O. Box 1543




                                                           12              (1)        The Third party defendants cannot be added to an
                                                           13                         action absent an independent jurisdictional base for inclusion.
                                                           14              (2)        The claims for interference with contractual relations and equitable
                                                           15                         indemnity are barred by California’s agent’s immunity rule.
                                                           16              (3)        The claims are further barred by the default judgment obtained by
                                                           17                         NMS Labs against iNDx Lifecare, Inc.
                                                           18             This Motion is based on this Notice of Motion and Motion, the accom-
                                                           19   panying Memorandum of Points and Authorities and Request for Judicial Notice,
                                                           20   all pleadings and papers on file in this action, and upon such other argument and
                                                           21   evidence as may be presented to the Court at or before the hearing.
                                                           22
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	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	   	   -i-                             Case	No.	17-cv-3159-MEJ
                                                                    Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 3 of 16



                                                            1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                            2             PLEASE TAKE NOTICE that on January 18, 2017 at 10:00 a.m., or as
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                                                           11   Procedure on the basis that:
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                                  P.O. Box 1543




                                                           12              (1)        The Third party defendants cannot be added to an
                                                           13                         action absent an independent jurisdictional base for inclusion.
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                                                           20   in this action, and upon such other argument and evidence as may be presented to
                                                           21   the Court at or before the hearing.
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	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	   	   -i-                             Case	No.	17-cv-3159-MEJ
                                                                    Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 4 of 16



                                                            1
                                                                                                               TABLE OF CONTENTS
                                                            2
                                                            3    TABLE OF AUTHORITIES ................................................................................. iii
                                                            4    STATEMENT OF ISSUES TO BE DECIDED ..................................................... 1
                                                            5
                                                                 CLAIMS ALLEGED AGAINST THE THIRD PARTY DEFENDANTS......... 2
                                                            6
                                                                           1.         First Cause of Action (By All Third Party Plaintiffs
                                                            7
                                                                                      Against Uttarwar for Equitable Indemnity)
                                                            8
                                                                           2.         Second Cause of Action (By PLC and NMS Against
                                                            9
                                                                                      Uttarwar and Gupta for Intentional Interference with
                                                           10                         Contractual Relations – Intercreditor Agreement)
                         Pacifica, California 94044-6543
    SHERRETT O. WALKER




                                                           11
                                                                           3.         Third Cause of Action (By NMS Against Uttarwar
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                                  P.O. Box 1543




                                                           12                         and Gupta for Intentional Interference with Contractual
                                                           13                         Relations – Product Development Agreement and
                                                                                      License Agreement)
                                                           14
                                                           15    LEGAL STANDARD ............................................................................................ 3

                                                           16    ARGUMENT .......................................................................................................... 4
                                                           17               A.        Third party defendants cannot be added to an
                                                           18                         action absent an independent jurisdictional
                                                                                      base for inclusion ............................................................................ 4
                                                           19

                                                           20               B.        The claims for interference with contractual relations
                                                                                      are barred by California’s agent’s immunity rule because
                                                           21
                                                                                      Uttarwar and Gupta were agents of iNDx, a party
                                                           22                         to the subject contracts ................................................................... 4
                                                           23
                                                                            C.        The agent immunity rule also bars the claim for
                                                           24                         equitable indemnity alleged against Uttarwar. .......................... 6
                                                           25
                                                                            D.        The claims are further barred by the default judgment
                                                           26                         NMS obtained against iNDx for breach of the
                                                           27                         PDA and NMS License ................................................................... 8

                                                           28
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	          	       -ii-                                               Case	No.	17-cv-3159-MEJ
                                                                    Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 5 of 16



                                                            1
                                                                                                           TABLE OF AUTHORITIES
                                                            2
                                                            3
                                                                 Applied Equipment Corp. v. Litton Saudi Arabia Ltd.,
                                                            4          7 Cal. 4th 503 (1994) ....................................................................................5
                                                            5
                                                                 Aldinger v. Howard,
                                                            6          513 F.2d 1257 (9th Cir. 1975) .......................................................................4
                                                            7
                                                                 Ashcroft v. Iqbal,
                                                            8          556 U.S. 662 (2009) .......................................................................................3
                                                            9
                                                                 Ayala v. United States,
                                                           10          550 F.2d 1196 (9th Cir.), cert. denied, 435 U.S. 982 (1978) .........................6
                         Pacifica, California 94044-6543
    SHERRETT O. WALKER




                                                           11
                                                                 Bay Development, Ltd. v. Superior Court,
                                   (415) 305-6546
                                  P.O. Box 1543




                                                           12         50 Cal.3d 1012 (1990)....................................................................................4
                                                           13
                                                                 Bell Atl. Corp. v. Twombly,
                                                           14           550 U.S. 544 (2007) ........................................................................................3
                                                           15
                                                                 Blake v. Pallan,
                                                           16           554 F.2d 947 (9th Cir. 1977) .........................................................................4
                                                           17    Coit v. W.U. Tel. Co.,
                                                           18           130 Cal. 657 (1900) .......................................................................................5
                                                           19    Channel Lumber Co. v. Porter Simon,
                                                           20         78 Cal. App. 4th 1222 (2000) .......................................................................5
                                                           21    Children’s Hospital v. Sedgwick,
                                                           22          45 Cal.App.4th 1780 (1996) ........................................................................7

                                                           23    GEM Developers v. Hallcraft Homes of San Diego, Inc.,
                                                           24        213 Cal. App. 3d 419 (1989) ........................................................................7

                                                           25    Howard v. Lewis,
                                                           26         905 F.2d 1318 (9th Cir. 1990) ......................................................................8

                                                           27    Hymer v. Chai,
                                                           28         407 F.2d 136 (9th Cir. 1969) .........................................................................4
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	       	       -iii-                                              Case	No.	17-cv-3159-MEJ
                                                                    Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 6 of 16



                                                            1                                              TABLE OF AUTHORITIES

                                                            2                                                        (continued)
                                                            3
                                                                 Kataoka v. May Department Stores, Co.,
                                                            4
                                                                       115 F.2d 521 (9th Cir. 1940) .........................................................................4
                                                            5
                                                                 Libby, McNeill, & Libby v. City National Bank,
                                                            6
                                                                        592 F.2d 504 (9th Cir. 1978) .........................................................................4
                                                            7
                                                                 Moor v. Madigan,
                                                            8
                                                                       458 F.2d 1217 (9th Cir. 1972) .......................................................................4
                                                            9
                                                                 Munoz v. Davis,
                                                           10
                                                                      141 Cal. App. 3d 420 (1983) .........................................................................7
                         Pacifica, California 94044-6543
    SHERRETT O. WALKER




                                                           11
                                                                 Murray v. Alaska Airlines, Inc.,
                                   (415) 305-6546
                                  P.O. Box 1543




                                                           12
                                                                      50 Cal. 4th 860 (2010) ..................................................................................9
                                                           13
                                                                 NL Indus., Inc. v. Kaplan,
                                                           14          792 F.2d 896 (9th Cir. 1986) .........................................................................3
                                                           15
                                                                 Olivet v. Frischling,
                                                           16           104 Cal.App.3d 831 (1980) ...........................................................................6
                                                           17
                                                                 Parklane Hosiery Co. v. Shore,
                                                           18          439 U.S. 322 (1979) .......................................................................................8
                                                           19
                                                                 Shapoff v. Scull,
                                                           20          222 Cal. App. 3d 1457 (1990) .......................................................................6
                                                           21
                                                                 Velazquez v. Costco Wholesale Corp.,
                                                           22          2011 U.S. Dist. LEXIS 161590 (C.D. Cal. 2011) .........................................6
                                                           23
                                                                 Weinbaum v. Goldfarb, Whitman & Cohen,
                                                           24         46 Cal. App. 4th 1310 (1996) ......................................................................6
                                                           25
                                                                 Western Steamship Lines, Inc. v. San Pedro Peninsula Hospital,
                                                           26          8 Cal. 4th 100 (1994) .....................................................................................9
                                                           27    Wise v. Southern Pacific,
                                                           28          223 Cal. App. 2d 50 (1963) ...........................................................................5
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	       	       -iv-                                             Case	No.	17-cv-3159-MEJ
                                                                    Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 7 of 16



                                                            1                                              STATEMENT OF ISSUES
                                                            2                                                    TO BE DECIDED
                                                            3              1.         Third Party Defendants Mohan Uttarwar and Piyush Gupta and
                                                            4    Third Party Plaintiffs PLC Diagnostics, Inc. (“PLC”), LDIP, LLC and Reuven Duer
                                                            5    are all California residents.
                                                            6              May this Court exercise diversity jurisdiction over the claims alleged by the
                                                            7    non-diverse Third Party Plaintiffs?
                                                            8              2.         Uttarwar and Gupta were agents of iNDx Lifecare, Inc. (“iNDx”)
                                                            9    when they oversaw the performance of iNDx’s contracts.
                                                           10              Are the claims alleged against them for tortious interference with iNDx’s
                         Pacifica, California 94044-6543
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                                                           11    contracts and equitable indemnity barred by California’s agent immunity rule?
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                                                           12              3.         Third Party Plaintiff National Medical Services, Inc. (“NMS”) alleges
                                                           13    that the Third Party Defendants prevented, or made more expensive, the
                                                           14    performance of a Product Development Agreement (“PDA”) and License
                                                           15    Agreement (“NMS License”) that NMS entered into with iNDx. In a separate
                                                           16    action filed in this Court, NMS obtained a default judgment against iNDx for
                                                           17    breach of these two contracts. The complaint NMS filed against iNDx nowhere
                                                           18    alleges that Uttarwar or Gupta induced iNDx to breach the PDA and NMS
                                                           19    License or disrupted their performance.
                                                           20              Is the claim for intentional interfence with contractual relations barred by
                                                           21    res judicata and/or collateral estoppel?
                                                           22
                                                           23
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	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	     	      -1-                       Case	No.	17-cv-3159-MEJ
                                                                     Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 8 of 16



                                                            1                                              CLAIMS ALLEGED AGAINST
                                                            2                                        THE THIRD PARTY DEFENDANTS
                                                            3
                                                                           1.         First Cause of Action (By All Third Party Plaintiffs Against Uttarwar
                                                            4                         for Equitable Indemnity). 1
                                                            5              The Third Party Plaintiffs allege “Uttarwar engaged in conduct that is the
                                                            6    basis for each of the claims asserted by Eurosemillas in the Complaint against
                                                            7    Third Party Plaintiffs. Uttarwar is equitably responsible to indemnify Third Party
                                                            8    Plaintiffs, in full or in part, for any damages that they may incur resulting from
                                                            9    the claims asserted by Eurosemillas in the [Second Amended] Complaint in an
                                                           10    amount to be determined at trial.”
                         Pacifica, California 94044-6543
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                                                           11
                                                                           2.         Second Cause of Action (By PLC and NMS Against Uttarwar and
                                   (415) 305-6546
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                                                           12                         Gupta for Intentional Interference with Contractual Relations –
                                                                                      Intercreditor Agreement).2
                                                           13
                                                                           PLC and NMS allege “Uttarwar and Gupta intended to disrupt perfor-
                                                           14
                                                                 mance of the Intercreditor Agreement [between PLC, NMS and iNDx], or knew
                                                           15
                                                                 that disruption of performance was certain or substantially certain to occur.”
                                                           16
                                                           17              3.         Third Cause of Action (By NMS Against Uttarwar and Gupta for
                                                                                      Intentional Interference with Contractual Relations – Product
                                                           18
                                                                                      Development Agreement and License Agreement).3
                                                           19
                                                                           Defendants PLC and NMS allege that “Eurosemillas asserts an interest in
                                                           20
                                                                 the Collateral and purported distribution rights to the intellectual property
                                                           21
                                                                 forming the Collateral in the European Union and Latin America markets. PLC
                                                           22
                                                                 and NMS dispute that Eurosemillas has any rights to the Collateral nor any
                                                           23
                                                                 distribution rights to the subject intellectual property anywhere in the world,
                                                           24
                                                                 including the European Union and Latin America markets.”
                                                           25
                                                           26
                                                                 1    Third Party Complaint ¶¶ 50-52 (p. 8) (Dkt 31).
                                                           27    2    Third Party Complaint ¶¶ 53-60 (pp. 8-9).
                                                           28    3    Third Party Complaint ¶¶ 61-68 (p. 9).
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	       	   -2-                        Case	No.	17-cv-3159-MEJ
                                                                     Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 9 of 16



                                                            1                                              LEGAL STANDARD
                                                            2              A Rule 12(b)(6) motion to dismiss for failure to state a claim should be
                                                            3    granted when the complaint does not give the defendant fair notice of a legally
                                                            4    cognizable claim and the grounds on which it rests.4
                                                            5              In considering whether the complaint is sufficient to state a claim, the court
                                                            6    takes all material allegations as true and construes them in the light most
                                                            7    favorable to the plaintiff.5
                                                            8              But this principle does not apply to legal conclusions: “Threadbare recitals
                                                            9    of the elements of a cause of action, supported by mere conclusory statements,”
                                                           10    are not taken as true.6
                         Pacifica, California 94044-6543
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                                                           11                                                  ARGUMENT
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                                                           12              The Third Party Plaintiffs bring three meritless claims against Uttarwar and
                                                           13    Gupta to harass and to intimidate and/or needlessly increase the costs of this
                                                           14    litigation. The claims are legally barred, and their fatal defects cannot be cured by
                                                           15    amendment.
                                                           16              A.         Third party defendants cannot be added to an action absent an
                                                           17                         independent jurisdictional base for inclusion.
                                                           18              PLC, Reuven Duer and LDIP (collectively, “Non-Diverse Plaintiffs”)

                                                           19    base their claims against Uttarwar and Gupta on supplemental jurisdiction under

                                                           20    28 U.S.C. § 1367(a). They contend that the Court may assert jurisdiction over their
                                                           21    claims “because they are so related to claims in the action within the Court’s
                                                           22    original jurisdiction that they form part of the same case or controversy under
                                                           23    Article III of the United States Constitution.”7
                                                           24
                                                           25    4    Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
                                                           26
                                                                 5    NL Indus., Inc. v. Kaplan, 792 F.2d 896, 898 (9th Cir. 1986).
                                                                 6    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Holomaxx Tech. v. Microsoft Corp., 783
                                                           27
                                                                      F. Supp. 2d 1097, 1103 (N.D. Cal. 2011)
                                                           28    7    Third Party Complaint ¶ 9 (p. 1: 24-26).
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	   	    -3-                         Case	No.	17-cv-3159-MEJ
                                                                     Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 10 of 16



                                                            1              The Non-Diverse Plaintiffs cannot rely on pendent party jurisdiction as a
                                                            2    jurisdictional basis for suing Uttarwar and Gupta. A federal court may not assert
                                                            3    pendent party jurisdiction over a person who is a third party defendant in claims
                                                            4    brought under Rule 13(a) and (h) of the Federal Rules of Civil Procedure where
                                                            5    the claims are unsupported by an independent federal jurisdictional base.
                                                            6              An independent jurisdictional base is missing because the Non-Diverse
                                                            7    Plaintiffs, Uttarwar and Gupta are all California citizens and the claims alleged
                                                            8    are not based on the violation of a federal statute.
                                                            9              The Ninth Circuit historically has been hostile to the concept of pendent
                                                           10    party jurisdiction.8 The Court repeatedly has held that parties may not be added
                         Pacifica, California 94044-6543
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                                                           11    to an action absent an independent jurisdictional basis for inclusion and that
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                                                           12    pendent party jurisdiction will not substitute for complete diversity or a federal
                                                           13    question.9 Accordingly, the claims the Non-Diverse Plaintiffs allege against
                                                           14    Uttarwar and Gupta must be dismissed for want of subject matter jurisdiction.
                                                           15              B.         The claims for interference with contractual relations are barred by
                                                           16                         California’s agent’s immunity rule because Uttarwar and Gupta were
                                                                                      agents of iNDx, a party to the subject contracts.
                                                           17
                                                                           Uttarwar was CEO and Gupta was the Managing Consultant for iNDx
                                                           18
                                                                 during the relevant time period alleged in the Third Party Complaint. They also
                                                           19
                                                                 were members of iNDx’s board of directors.10
                                                           20
                                                           21
                                                                 8    See generally Note, Federal Pendent Party Jurisdiction and United
                                                           22         Mineworkers v. Gibbs—Federal Question and Diversity Cases, 62 U.Va.L.Rev.
                                                           23         194, 206-08 (1976).
                                                                 9    See Libby, McNeill, & Libby v. City National Bank, 592 F.2d 504, 510 (9th Cir.
                                                           24
                                                                      1978); Ayala v. United States, 550 F.2d 1196, 1198-2000 (9th Cir.), cert. denied, 435
                                                           25         U.S. 982, (1978); Blake v. Pallan, 554 F.2d 947, 957-58 (9th Cir. 1977); Aldinger v.
                                                           26         Howard, 513 F.2d 1257, 1259-61 (9th Cir. 1975); Moor v. Madigan, 458 F.2d 1217,
                                                                      1220-22 (9th Cir. 1972); Hymer v. Chai, 407 F.2d 136, 137-38 (9th Cir. 1969);
                                                           27
                                                                      Kataoka v. May Department Stores, Co., 115 F.2d 521, 522 (9th Cir. 1940).
                                                           28    10   Third Party Complaint ¶¶ 12-13 (p. 8) (Dkt 31).
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	   	   -4-                           Case	No.	17-cv-3159-MEJ
                                                                   Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 11 of 16



                                                            1              At all times, Uttarwar and Gupta acted under the direction and for the
                                                            2    benefit of their principal with respect to the performance of the Intercreditor
                                                            3    Agreement, PDA and NMS License.
                                                            4              As a matter of law, they cannot be held personally liable for interfering
                                                            5    with iNDx’s contracts because “corporate agents and employees acting for or on
                                                            6    behalf of the corporation cannot be held liable for inducing a breach of the
                                                            7    corporation’s contract since being in a confidential relationship to the corporation
                                                            8    their action in this respect is privileged.”11
                                                            9              “The essence of an agency relationship is the delegation of authority from
                                                           10    the principal to the agent which permits the agent to act not only for, but in the
                         Pacifica, California 94044-6543
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                                                           11    place of, his principal in dealings with third parties. The heart of agency is
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                                                           12    expressed in the ancient maxim: Qui facit per alium facit per se. (He who acts
                                                           13    through another acts by or for himself.)”12
                                                           14              Consistent with this principle, the law provides that “all the rights and
                                                           15    liabilities which would accrue to the agent from transactions within such limit, if
                                                           16    they had been entered into on his own account, accrue to the principal.”13
                                                           17              California recognizes a privilege for those managing another person’s
                                                           18    contractual performance.
                                                           19              “The privilege to induce an otherwise apparently tortious breach of
                                                           20    contract is extended by law to further certain social interests deemed of sufficient
                                                           21    importance to merit protection from liability. Thus, a manager or agent may, with
                                                           22
                                                           23    11   Wise v. Southern Pacific, 223 Cal.App.2d 50, 72-73 (1963); Applied Equipment
                                                                      Corp. v. Litton Saudi Arabia Ltd., 7 Cal. 4th 503, 514 (1994) (“The tort duty not to
                                                           24
                                                                      interfere with the contract falls only on strangers—interlopers who have no
                                                           25         legitimate interest in the scope or course of the contract’s performance.”).
                                                           26
                                                                 12   Channel Lumber Co. v. Porter Simon, 78 Cal. App. 4th 1222, 1227 (2000); see also
                                                                      Coit v. W.U. Tel. Co., 130 Cal. 657, 663 (1900) (the principal could “only stand in
                                                           27
                                                                      [the agent’s] shoes”).
                                                           28    13   Cal. Civil Code § 2330.
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	   	   -5-                          Case	No.	17-cv-3159-MEJ
                                                                   Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 12 of 16



                                                            1    impersonal or disinterested motive, properly endeavor to protect the interests of
                                                            2    his principal by counseling the breach of a contract with a third party which he
                                                            3    reasonably believes to be harmful to his employer’s best interests.”14
                                                            4              “To claim the privilege, a manager or advisor need not be acting solely on
                                                            5    behalf of his employer or client; rather he is entitled to the protection of the
                                                            6    privilege so long as he can establish his employer’s or client’s interest was one of
                                                            7    the factors motivating his conduct or advice.”15
                                                            8              Whatever Uttarwar and Gupta did regarding the performance or non-
                                                            9    performance of iNDx’s contracts they did so to protect iNDx’s interest.
                                                           10              Moreover, as an independently sufficient ground, their actions must be
                         Pacifica, California 94044-6543
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                                                           11    deemed to have been taken by iNDx itself through its agents. iNDx is a party to
                                   (415) 305-6546
                                  P.O. Box 1543




                                                           12    the Intercreditor Agreement, PDA and NMS License.
                                                           13              Because parties to a contract may not be held liable in tort for interfering
                                                           14    with contracts to which they are a party, Uttarwar and Gupta cannot be held
                                                           15    personally liable for interfering with iNDx’s contractual obligations.16
                                                           16              C.         The agent immunity rule also bars the claim for equitable indemnity
                                                           17                         alleged against Uttarwar.
                                                           18              California recognizes only two basic types of indemnity: express

                                                           19    indemnity and equitable indemnity.17

                                                           20              Express indemnity does not apply here because the Third Party Plaintiffs
                                                           21    make no claim that Uttarwar expressly contracted to indemnify them for the type
                                                           22
                                                           23    14   Olivet v. Frischling, 104 Cal. App. 3d 831, 841 (1980).
                                                                 15   Shapoff v. Scull, 222 Cal.App.3d 1457, 1469 (1990).
                                                           24    16   Weinbaum v. Goldfarb, Whitman & Cohen, 46 Cal. App. 4th 1310, 1316–1317
                                                           25         (1996) (holding that a contracting party is incapable of interfering with the
                                                           26         performance of his or her own contract and cannot be held liable in tort for
                                                                      conspiracy to interfere with his or her own contract).
                                                           27    17   Bay Development, Ltd. v. Superior Court, 50 Cal.3d 1012, 1029–1030 & fn. 10
                                                           28         (1990).
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	   	   -6-                           Case	No.	17-cv-3159-MEJ
                                                                   Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 13 of 16



                                                            1    of damages alleged in their complaint.18
                                                            2              Under the doctrine of equitable indemnity, “defendants are entitled to seek
                                                            3    apportionment of loss between the wrongdoers in proportion to their relative
                                                            4    culpability . . . .”19
                                                            5              To recover under equitable indemnity, the Third Party Plantiffs must show
                                                            6    Uttarwar would be personally liable for the same claims that Eurosemillas alleges
                                                            7    against them in its Second Amended Complaint. (Dkt. 27)
                                                            8              A key restrictive feature of traditional equitable indemnity is that, on
                                                            9    matters of substantive law, the doctrine is “wholly derivative and subject to
                                                           10    whatever immunities or other limitations on liability would otherwise be
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                                                           11    available” against the injured party.20
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                                                           12              “In other words, unless the prospective indemnitor [Uttarwar] and
                                                           13    indemnitee [Third Party Plaintiffs] are jointly and severally liable to the plaintiff
                                                           14    [Eurosemillas] there is no basis for indemnity.”21
                                                           15              Uttarwar cannot be held jointly and severally liable to Eurosemillas for the
                                                           16    four causes of action alleged in the Second Amended Complaint because they all
                                                           17    arise or relate to an Intercredtior Agreement entered into between iNDx,
                                                           18    Eurosemillas, PLC and NMS.
                                                           19

                                                           20
                                                           21
                                                                 18   Id. (explaining that express indemnity refers to an obligation that arises by
                                                                      virtue of express contractual language establishing a duty in one party to save
                                                           22         another harmless upon the occurrence of specified circumstances).
                                                           23    19   GEM Developers v. Hallcraft Homes of San Diego, Inc., 213 Cal. App. 3d 419, 426
                                                                      (1989).
                                                           24    20   Western Steamship Lines, Inc. v. San Pedro Peninsula Hospital, 8 Cal. 4th 100, 114
                                                           25         (1994) (“Indemnity . . . is premised on a joint legal obligation to another for
                                                           26         damages.”); see Children’s Hospital v. Sedgwick, 45 Cal.App.4th 1780, 1787 (1996)
                                                                      (“As against the indemnitee, the indemnitor may invoke any substantive
                                                           27
                                                                      defense to liability that is available against the injured party.”).
                                                           28    21   Munoz v. Davis, 141 Cal. App. 3d 420, 425 (1983).
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	   	   -7-                          Case	No.	17-cv-3159-MEJ
                                                                   Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 14 of 16



                                                            1              For the reasons explained in Section B, above, Uttarwar—as iNDx’s agent
                                                            2    acting on behalf of his principal—is protected by the agent’s immunity rule.
                                                            3    Stated simply: “there can be no indemnity without liability.”22
                                                            4              D.         The claims are further barred by the default judgment NMS obtained
                                                            5                         against iNDx for breach of the PDA and NMS License Agreement.
                                                            6              NMS obtained a default judgment against iNDx for breach of the PDA and
                                                            7    NMS License Agreement. See Request for Judicial Notice, dated December 19,
                                                            8    2017 (“RJN”) Exhibit B and Exhibit C.
                                                            9              The complaint NMS filed against iNDx (the “iNDx Action”) nowhere

                                                           10    alleges that Uttarwar and Gupta induced iNDx to breach these two contracts or
                         Pacifica, California 94044-6543
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                                                           11    disrupted their performance. See RJN Exhibit A.
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                                                           12              NMS should have joined Uttarwar and Gupta in the iNDx Action as a

                                                           13    necessary and indispensable party. Failure to do so proves fatal because the

                                                           14    claims for tortious interference with iNDx’s contracts are now barred by res

                                                           15    judicata and/or collateral estoppel.

                                                           16              Issues regarding the nature, scope and cause of the alleged breach or

                                                           17    disruption of performance of the PDA and NMS License cannot be relitigated

                                                           18    because a default judgment “is considered to be a determination on the merits for

                                                           19    purposes of res judicata.”23

                                                           20              “Collateral estoppel, like the related doctrine of res judicata, has the dual
                                                           21    purpose of protecting litigants from the burden of relitigating an identical issue
                                                           22    with the same party or his privy and of promoting judicial economy by
                                                           23    preventing needless litigation.”24 The Ninth Circuit has identified several factors
                                                           24    to consider in determining whether there was a full and fair opportunity to
                                                           25    litigate the issue in the previous action: “whether there is a ‘substantial overlap’
                                                           26
                                                                 22   Id.
                                                           27    23   Howard v. Lewis, 905 F.2d 1318, 1323 (9th Cir. 1990).
                                                           28    24   Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326 (1979).
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	   	   -8-                           Case	No.	17-cv-3159-MEJ
                                                                   Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 15 of 16



                                                            1    between the argument to be advanced in the second proceeding as was advanced
                                                            2    in the first; whether the argument involves the same rule of law as in the prior
                                                            3    proceeding; whether pretrial preparation and discovery in the first action
                                                            4    embraced the matter presented in the second; and whether the claims involved in
                                                            5    the two proceedings are closely related.”25 Those factors are all met.
                                                            6              There is more than a “substantial overlap” between the arguments made in
                                                            7    the iNDx Action and this case. NMS argued in the iNDx Action that iNDx
                                                            8    breached the PDA and NMS License.
                                                            9              In this case, NMS contends that Uttarwar and Gupta induced the breach or
                                                           10    disrupted the performance of these contracts. The same laws and claims
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                                                           11    regarding breach of contract are implicated in both actions.
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                                                           12              All the issues in this case regarding iNDx’s breach of the PDA and NMS
                                                           13    License should be deemed to have been “actually litigated” even though NMS
                                                           14    obtained a default judgment. For purposes of determining whether an issue was
                                                           15    “actually litigated,” in California “[i]t is the opportunity to litigate that is
                                                           16    important in these cases, not whether the litigant availed himself or herself of the
                                                           17    opportunity.”26
                                                           18              Finally, NMS, the party against whom collateral estoppel is asserted in the
                                                           19    present action, was a party in the iNDx Action.
                                                           20
                                                           21    Dated: December 19, 2017                      Respectfully submitted,

                                                           22
                                                           23                                                  Sherrett O. Walker
                                                           24
                                                                                                               Counsel for Eurosemillas S.A.,
                                                                                                               Mohan Uttarwar and Piyush Gupta
                                                           25
                                                           26
                                                                 25   Velazquez v. Costco Wholesale Corp., No. SACV11508JVSRNBX, 2011 U.S. Dist.
                                                           27
                                                                      LEXIS 161590, 2011 WL 13152476, at *2 (C.D. Cal. 2011).
                                                           28    26   Murray v. Alaska Airlines, Inc., 50 Cal. 4th 860, 869 (2010).
                                       	
                    	
	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	   	      -9-                            Case	No.	17-cv-3159-MEJ
                                                                   Case 3:17-cv-03159-MEJ Document 54 Filed 12/19/17 Page 16 of 16



                                                            1                                              CERTIFICATE OF SERVICE

                                                            2              I hereby certify that the above document was filed electronically with the

                                                            3    Clerk of the United States District Court for the Northern District of California,

                                                            4    and was served via hyperlink generated by the court’s CM/ECF system, which

                                                            5    was sent electronically to:

                                                            6
                                                                           Steven J. Kahn
                                                            7              Harry D. Hochman
                                                            8
                                                                           PACHULSKI STANG ZIEHL & JONES LLP
                                                                           150 California Street, 15th Floor
                                                            9              San Francisco, California 94111-4500
                                                           10              T: 415.263.7000
                         Pacifica, California 94044-6543




                                                                           F: 415.263.7010
    SHERRETT O. WALKER




                                                           11
                                                                           skahn@pszjlaw.com
                                   (415) 305-6546
                                  P.O. Box 1543




                                                           12              hhochman@pszjlaw.com
                                                           13
                                                           14              I declare under penalty of perjury, under the laws of the State of California

                                                           15    and the United States of America that the foregoing is true and correct.

                                                           16
                                                                 Dated: December 19, 2017
                                                           17                                                     Sherrett O. Walker
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	                                                               MOTION	TO	DISMISS	THIRD	PARTY	COMPLAINT	      	     -10-                   Case	No.	17-cv-3159-MEJ
